

Squitieri v Kaufman (2021 NY Slip Op 02350)





Squitieri v Kaufman


2021 NY Slip Op 02350


Decided on April 15, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 15, 2021

Before: Renwick, J.P., Gische, Moulton, Mendez, JJ. 


Index No. 350138/06 Appeal No. 13591 Case No. 2019-2767 

[*1]Jeffrey Squitieri, Plaintiff-Appellant,
vBeth Kaufman Formerly Known as Beth Squitieri, Defendant-Respondent.


Dorcas Owusu Frimpong, Bronx, for appellant.



Appeal from order, Supreme Court, New York County (Lori S. Sattler, J.), entered March 19, 2013, which denied plaintiff's motion for a downward modification of his child support obligation based on the parties' default in appearance, unanimously dismissed, without costs, as taken from a nonappealable order.
The appeal is dismissed because a party cannot appeal from an order entered on default (see CPLR 5511). The proper procedure was to move to vacate the default and, if necessary, appeal from the denial of that motion (see Kamen v Weithorn, 83 AD3d 560, 561 [1st Dept 2011]; Matter of Bouie v Arvelo-Smith, 17 AD3d 461, 462 [2d Dept 2005]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 15, 2021








